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  8                          UNITED STATES DISTRICT COURT
  9                        CENTRAL DISTRICT OF CALIFORNIA
10                                WESTERN DIVISION
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                                                Case No. 2:21-CV-05876-AB-PDx
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       NICOR, INC.,
13                                              NICOR, INC.’S FIRST AMENDED
                    Plaintiff,
14                                              COMPLAINT
       v.
15                                              JURY TRIAL DEMANDED
16     SOURCEBLUE, LLC,
17                  Defendant.
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                                      NICOR, INC.’S FAC
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  1                   NICOR, INC.’S FIRST AMENDED COMPLAINT
  2         NICOR, Inc. (hereafter “NICOR”) for its Complaint against SourceBlue,
  3   LLC, formerly known as Turner Logistics, LLC (“SourceBlue”) alleges as follows:
  4                             NATURE OF THE ACTION
  5         1.     This is an action for patent infringement to end SourceBlue’s direct and
  6   indirect infringement of NICOR’s U.S. Patent No. 10,824,427 (“the ‘427 Patent”),
  7   arising under the Patent Laws of the United States, 35 U.S.C. §§ 1, et seq.
  8                                   THE PARTIES
  9         2.     Plaintiff NICOR is a corporation organized and existing under the laws
10    of the State of New Mexico, with its principal place of business at 2200 Midtown
11    Place NE, Suite A, Albuquerque, NM 87107.
12          3.     Upon information and belief, Defendant SourceBlue is a limited
13    liability company organized and existing under the State of Delaware, File No.
14    3354819, with a principal place of business at 3 Paragon Dr., #1, Montvale, NJ
15    07645.
16                             JURISDICTION AND VENUE
17          4.     This lawsuit is an action for patent infringement arising under the patent
18    laws of the United States, 35 U.S.C. §§ 1, et seq. This Court has subject matter
19    jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1338(a). The Court
20    has supplemental jurisdiction over NICOR’s state law claims under §§ 1332 and
21    1367 because the parties are citizens of different states, the amount in controversy
22    exceeds $75,000, and the state law claims are related to the patent claims such that
23    they form part of the same case or controversy under Article III of the U.S.
24    Constitution.
25          5.     This Court has personal jurisdiction over SourceBlue because
26    SourceBlue has availed itself of this Court by agreeing to transfer the parties’
27    Delaware action to this Court (Dkt. No. 17). In addition, SourceBlue regularly
28    conducts business within this District.
                                       NICOR, INC.’S FAC
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  1         6.     Venue is proper in this District under 28 U.S.C § 1400(b) because
  2   SourceBlue agreed to transfer the Delaware action to this Court. Upon information
  3   and belief, Defendant has committed at least a portion of the infringing acts at issue
  4   in this case within the District.
  5                               FACTUAL ALLEGATIONS
  6                                       a. The ‘427 Patent
  7         7.     On November 3, 2020, the United States Patent and Trademark Office
  8   duly and legally issued U.S. Patent No. 10,824,427 (“the ‘427 Patent”), entitled a
  9   “Method and System for Power Supply Control.” The ‘427 Patent claims priority
10    to Provisional Application No. 62/576,877, filed on October 25, 2017, Provisional
11    Application No. 62/668,642, filed on May 8, 2018, and Provisional Application No.
12    62/764,678, filed on August 15, 2018. A true and correct copy of the ‘427 Patent is
13    attached hereto as Exhibit A and is incorporated herein by reference.
14          8.     NICOR holds all rights to enforce and prosecute actions for past,
15    present and future infringement and to collect damages for all relevant times against
16    infringers of the ‘427 Patent. Accordingly, NICOR possesses the exclusive right
17    and standing to prosecute this action for infringement against Defendant.
18                               b. SourceBlue’s Wrongful Conduct
19          9.     NICOR has been designing and selling innovative lighting solutions to
20    customers for over forty years and often provides lighting solutions to large
21    commercial operations across the U.S. In February 2018, NICOR submitted a bid
22    to provide its lighting systems to Facebook’s data center NAO1 and NAO2. NICOR
23    was subsequently awarded the contract and supplied its lighting systems, including
24    its patented Lighting Control Units (“LCUs”), and multiple NICOR LED light
25    fixtures.
26          10.    A year later, around March 2019, NICOR submitted a bid to provide
27    its lighting systems to Facebook data centers NAO3 and NAO4, also in Albany,
28    Ohio. NICOR did not supply its products to the NAO3/4 data centers and later
                                          NICOR, INC.’S FAC
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  1   learned that Defendant’s Remote Driver Control Center (“RDCC”) product,
  2   marketed under the Solidian® brand (“Accused Product”), which includes the
  3   patented invention claimed in the ‘427 Patent, was installed instead.
  4        11.     On or around May 2020, NICOR was requested by three distributors
  5   and Cupertino Electric to bid on Facebook data centers NAO5 and NAO6 in Albany,
  6   Ohio.   NICOR was informed that there had been quality problems with the
  7   Solidian® products supplied by Turner Logistics, now SourceBlue, at NAO3/4.
  8        12.     NICOR is informed and believes that Facebook originally chose
  9   NICOR’s lighting system for NAO5/6, but Turner Construction instead awarded the
10    NAO5 and NAO6 data center lighting contracts to Turner Logistics, LLC. On
11    information and belief, Turner Logistics, LLC, which later changed its name to
12    SourceBlue, LLC (“SourceBlue”), was and is a subsidiary of Turner Construction.
13    Upon information and belief, SourceBlue, in collaboration with its supplier
14    Infinilux, used NICOR’s pricing from NICOR’s bid to submit a slightly lower price
15    for copies of NICOR’s patented LCU product and other NICOR LED lighting
16    fixtures to Facebook and, as a result, the NAO5/6 contract was awarded to
17    SourceBlue and Infinilux around October 2020.
18         13.     NICOR is informed, and on that basis alleges, that SourceBlue
19    acquired, and still acquires, the Accused Product from Infinilux.
20         14.     On information and belief, SourceBlue and Infinilux intentionally
21    copied NICOR’s LCU product to create the Accused Product despite knowing that
22    the Accused Product infringes the ‘427 Patent.
23         15.     NICOR is informed and believes that SourceBlue and Infinilux knew
24    that NICOR had been awarded the lighting contracts for the NAO5 and NAO6
25    Facebook data centers and offered to supply the infringing Accused Product at a
26    lower price than NICOR’s LCU product in order to intentionally interfere with
27    NICOR’s Facebook contracts.
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  1        16.      SourceBlue knew, or should have known, that offering the infringing
  2   Accused Product to replace NICOR’s patented LCU product would interfere with
  3   the Facebook data center contracts.
  4        17.      SourceBlue’s infringing conduct resulted in Facebook changing the
  5   contract award for the NAO5 and NAO6 datacenters from NICOR’s lighting system
  6   to SourceBlue’s Solidian® system, which included the Accused Product.
  7        18.      NICOR is also informed and believes that SourceBlue’s unlawful
  8   conduct also resulted in NICOR losing other Facebook data center lighting
  9   contracts, including but not limited to: PNB1/2 in Spring 2018; PNB5/6 and
10    RVA3/4 in Spring 2019; PNB3/4 in Winter 2019; and SNB1/2 and DKL1/2 in Fall
11    2020.
12         19.      In addition to the revenue NICOR would receive for supplying
13    hundreds of its LCU products to each Facebook data center, each contract also
14    included orders for thousands of LED light fixtures to be used with the NICOR
15    system, 90% of which would also have been provided by NICOR.
16         20.      Defendant’s unlawful conduct thus cost NICOR millions of dollars in
17    lost revenues for the Facebook data centers alone.
18            21.   On November 12, 2020, NICOR sent a letter to Turner Logistics, LLC,
19    which later changed its name to SourceBlue, regarding SourceBlue’s sales of the
20    Accused Product and its infringement of the ‘427 Patent. A copy of the letter, which
21    is incorporated herein by reference, is attached to SourceBlue’s original Complaint
22    and portions filed under seal. (Dkt. No. 1, Ex. 2 (filed under seal); Dkt. No. 10, Ex.
23    2 (redacted version).)
24            22.   In its subsequent correspondence, including its April 30, 2021 letter,
25    SourceBlue alleged that the Solidian® RDCC Installation Instructions, which
26    showed diagrams outlining the structure of the Solidan® RDCC, differed from the
27    actual Accused Product but refused to provide specifics. SourceBlue also refused
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                                       NICOR, INC.’S FAC
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  1   to provide NICOR’s outside attorneys with documents supporting SourceBlue’s
  2   contentions or a sample of the Accused Product, which is not publicly available.
  3        23.       On May 14, 2021, NICOR filed a patent infringement action against
  4   SourceBlue in the U.S. District Court for the District of Delaware (Case No. 1:21-
  5   cv-00698) that was subsequently transferred, by agreement of the Parties, to the
  6   Central District of California on July 20, 2021 and now forms part of this
  7   consolidated action, along with Infinilux v. NICOR, Inc. (former Case No. 2:21-cv-
  8   5300 (“Related Action”)).
  9        24.       NICOR subsequently learned that SourceBlue purchased the Accused
10    Products from Infinilux when Infinilux filed the Related Action. Prior to Infinilux’s
11    filing, NICOR did not know that Infinilux supplied the Accused Products.
12    SourceBlue never mentioned that it obtained the Accused Products from Infinilux
13    in any of its correspondence to NICOR.
14         25.       On information and belief, SourceBlue had actual or constructive
15    knowledge of NICOR’s rights and the ‘427 Patent when it sold or otherwise supplied
16    the Accused Product.
17         26.       Despite such knowledge, SourceBlue has directly and willfully
18    infringed and continues to willfully infringe the ‘427 Patent by manufacturing,
19    importing, selling, offering for sale, and/or using the Accused Product.
20         27.       Further, SourceBlue has induced and/or contributed to the infringement
21    by one or more third-parties, including Infinilux, by instructing, directing, and/or
22    requiring them to infringe the ‘427 Patent, either literally or under the doctrine of
23    equivalents.
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  1                                         COUNT I

  2                            (Infringement of the ‘427 Patent)
  3        28.     NICOR incorporates the above paragraphs herein by reference.
  4        29.     NICOR owns and possesses the exclusive right and standing to
  5   prosecute the present actions for infringement and to collect damages for all relevant
  6   times against infringers of the ‘427 Patent.
  7        30.     SourceBlue has had actual knowledge of the ‘427 Patent since at least
  8   as early as November 12, 2020 when NICOR sent a letter to SourceBlue regarding
  9   the ‘427 Patent.
10         31.     Upon information and belief, SourceBlue infringes, literally or under
11    the doctrine of equivalents, at least claims 1-7 of the ‘427 Patent by its manufacture,
12    importation, offer for sale, sale, and/or use of its Accused Product marketed under
13    its Solidian® brand.
14         32.     For example, and without limitation, SourceBlue’s Accused Product
15    includes each and every limitation of at least claims 1-7 of the ‘427 Patent, either
16    literally or under the doctrine of equivalents, as shown in the claim chart attached as
17    Exhibit 3 to NICOR’s original Complaint and filed under seal (Dkt. No. 1, Ex. 3
18    (under seal); Dkt. No. 10, Ex. 3 (redacted version)), and which is incorporated herein
19    by reference in its entirety. For at least these reasons, the Accused Product infringes
20    claims 1-7 of the ‘427 Patent.
21         33.     Upon information and belief, SourceBlue has also induced
22    infringement of the ‘427 Patent by instructing and inducing one of its suppliers,
23    Infinilux, and customers to infringe the ‘427 Patent. SourceBlue actively induces
24    such infringement by, for example, providing installation instructions, and other
25    instruction materials for its Accused Product that induce its customers to use the
26    Accused Product in a way that infringes the ‘427 Patent.
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                                        NICOR, INC.’S FAC
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  1        34.       SourceBlue performed these acts of infringement with knowledge of
  2   the ‘427 Patent and with the knowledge or willful blindness that the induced acts
  3   constitute direct infringement by SourceBlue’s suppliers and customers.
  4        35.       NICOR has not licensed SourceBlue to practice the ‘427 Patent and
  5   SourceBlue has no license or authority to practice, or license others to practice, the
  6   ‘427 Patent.
  7        36.       SourceBlue has directly infringed and continues to infringe at least
  8   claims 1-7 of the ‘427 Patent by making, using, offering for sale within the United
  9   States, and/or importing into the United States, its Accused Product in violation of
10    35 U.S.C. §§ 271 (a), (b), and/or (c).
11         37.       SourceBlue’s infringement of the ‘427 Patent is willful and deliberate,
12    and entitles NICOR to enhanced damages pursuant to 35 U.S.C. § 284.
13    SourceBlue’s wrongful conduct also constitutes an exceptional case entitling
14    NICOR to attorneys’ fees and cost incurred in prosecuting this action pursuant to 35
15    U.S.C. § 285.
16         38.       NICOR has been damaged by SourceBlue’s infringement of the ‘427
17    Patent.     SourceBlue’s infringement has caused, and will continue to cause,
18    irreparable harm to NICOR, for which NICOR has no adequate remedies at law,
19    unless and until SourceBlue’s wrongful acts are enjoined by this Court.
20                                             COUNT II
21               (Intentional Interference with Prospective Economic Relations)
22         39.       NICOR incorporates the above paragraphs herein by reference.
23         40.       Facebook initially awarded NICOR the contracts to provide lighting
24    systems for the Facebook data centers at NAO5 and NAO6. NICOR is informed
25    and believes that each data center was to incorporate thousands of LED lighting
26    fixtures and hundreds of LCU products that would have resulted in significant
27    product sales to NICOR.
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  1        41.     In addition, NICOR is informed and believes that selection of its
  2   lighting system for the NAO5 and NAO6 data center would have resulted in
  3   NICOR’s products being listed on the Facebook master specification and used at
  4   additional Facebook data centers, resulting in additional economic benefit to
  5   NICOR.
  6        42.     NICOR had a reasonable expectation that it would receive sales
  7   revenue for supplying its lighting systems, including its patented LCU product, to
  8   the Facebook data centers.
  9        43.     NICOR is informed and believes that SourceBlue knew, or should have
10    known, that NICOR had been awarded the Facebook contracts to provide lighting
11    systems at the NAO5 and NAO6 data centers or otherwise knew, or should have
12    known, of NICOR’s business relationship with Facebook.
13         44.     NICOR is informed and believes that SourceBlue maliciously and
14    intentionally copied NICOR’s LCU product to create the Accused Product for the
15    improper purpose of interfering with NICOR’s Facebook data center contracts, thus
16    misappropriating the Facebook data center contracts for itself.
17         45.     In addition, SourceBlue engaged in wrongful and improper conduct by
18    manufacturing, offering to sell, selling, and/or using the Accused Product, which
19    infringes NICOR’s ‘427 Patent.
20         46.     On information and belief, SourceBlue intended to interfere with
21    NICOR’s Facebook data center contracts.
22         47.     Through its unlawful conduct, SourceBlue intentionally interfered with
23    NICOR’s prospective economic relationship with Facebook. As a direct and
24    proximate result of SourceBlue’s wrongful conduct, NICOR lost the contracts to
25    supply its lighting system, including the LCU product, to the Facebook data centers.
26         48.     NICOR has suffered injury and compensable damages in an amount to
27    be proven at trial, but in excess of $75,000, as a result of SourceBlue’s wrongful
28    conduct.
                                       NICOR, INC.’S FAC
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  1           49.   SourceBlue’s wrongful conduct is also causing substantial, continuous
  2   and irreparable harm to NICOR, which if not enjoined by this Court will continue
  3   to NICOR’s detriment.
  4           50.   SourceBlue’s malicious and intentional conduct was made in conscious
  5   disregard for NICOR’s rights, entitling NICOR to punitive and exemplary damages
  6   in an amount to be proven at trial. SourceBlue’s wrongful conduct supports a
  7   finding that this is an exceptional case, entitling NICOR to an award of its attorneys’
  8   fees.
  9                                         COUNT III
 10                                   (Unfair Competition)
 11           51.   NICOR incorporates the above paragraphs herein by reference.
 12           52.   Through its wrongful acts alleged above, SourceBlue has engaged in
 13   unfair competition under California Business & Professions Code § 17200, et seq.,
 14   and California common law.
 15           53.   SourceBlue’s wrongful conduct injures competition and consumers in
 16   California and elsewhere.
 17           54.   As a direct and proximate cause of SourceBlue’s improper conduct,
 18   NICOR has suffered, and will continue to suffer, irreparable harm for which NICOR
 19   has no adequate remedy at law. Until SourceBlue’s wrongful conduct is enjoined,
 20   NICOR will continue to engage in the wrongful conduct, including infringement of
 21   the ‘427 Patent.
 22           55.   NICOR is entitled to injunctive relief and/or restitution.
 23                                 PRAYER FOR RELIEF
 24           WHEREFORE, NICOR prays for entry of a judgment in its favor and
 25   against SourceBlue as follows:
 26           (a)   Entry of judgment that SourceBlue has infringed one or more claims of
 27   the ‘427 Patent, either directly or indirectly;
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                                         NICOR, INC.’S FAC
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  1         (b)    Entry of judgment that SourceBlue has tortuously interfered with
  2   NICOR’s prospective economic relations;
  3         (c)    Entry of judgment that SourceBlue has engaged in acts of unfair
  4   competition under Cal. Bus. & Prof. Code § 17200, et seq., and/or common law;
  5         (d)    Entry of judgment that preliminarily and/or permanently enjoins
  6   SourceBlue, its officers, directors, employees, agents, parents, divisions,
  7   subsidiaries, licensees, successors, assigns, and any and all persons acting in privity
  8   or in concert with SourceBlue, from further acts of: (i) infringement of the ‘427
  9   Patent under 35 U.S.C. § 283; (ii) tortious interference with NICOR’s prospective
 10   economic relations; and/or (iii) engaging in acts of unfair competition.
 11         (e)    An award of compensatory damages to NICOR adequate to compensate
 12   NICOR for SourceBlue’s infringement of the ‘427 Patent, the extent to which will be
 13   determined at trial, but in no event less than a reasonable royalty, together with pre-
 14   and post-judgment interest, pursuant to 35 U.S.C. § 284;
 15         (f)    A determination that SourceBlue’s acts of infringement of one or more
 16   claims of the ‘427 Patent have been, and continue to be, egregious and/or willful, and
 17   that NICOR is entitled to an award of enhanced damages of up to three times the
 18   amount of actual damages pursuant to 35 U.S.C. § 284;
 19         (g)    A determination that this case is exceptional under 35 U.S.C. § 285, and
 20   that NICOR be awarded its reasonable attorneys’ fees;
 21         (h)    An award of compensatory, punitive and other damages for
 22   SourceBlue’s tortious interference with NICOR’s prospective economic relations;
 23         (i)    Restitution for SourceBlue’s unfair competition;
 24         (j)    An award of NICOR’s costs and expenses incurred in this action; and
 25         (k)    Such further relief as the Court deems just and proper.
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  1                                     JURY DEMAND
  2         Pursuant to Rule 38 of the Federal Rules of Civil Procedure, NICOR hereby
  3   demands a trial by jury on all issues so triable.
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       Dated: February 4, 2022                     Respectfully submitted,
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                                                   LOZA & LOZA, LLP.
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                                                   By:
  9                                                       Lena N. Bacani
 10                                                Attorneys for Plaintiff, NICOR, Inc.
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